  Case 3:18-cv-00296-MMD-CLB Document 113-12 Filed 11/20/19 Page 1 of 4




Exhibit 12 - June 20, 2018 Email
    (TES-TRIPP_0010445)
                                                        Case 3:18-cv-00296-MMD-CLB Document 113-12 Filed 11/20/19 Page 2 of 4
                                                                                                                                                                                                                                  EXHIBITS
                                                                                                                                                                                                                                     O'Brien
                                                                                                                                                                                                                                     6/5/2019

                                                                                                                                                                                                                            Repotted by Mtchael P Hernlcy
                                                                                                                                                                                                                                   CSR 14114. RDR




From:                             Sarah O'Brien
Sent                               Wednesday,June 20,2018 5:31 PM
To:                                Elon Musk
Subject                            Re: Query re: Martin Tripp and your emails


ri! take it from here.


        On Jun 20,2018, at 5:29 PM,Elon Musk <enn@tesla.cam> wrote;

        Tripp sent me a threatening email this morning. Below is the exchange. I was just told that we received a call at the Gigafactory that he was going to come back and shoot people. The police have been alerted and we have posted
        additional security. Our comms team can fill you in.



                         Original message
               From: Elon Musk
               Date: 6/20/18 5:17 PM {GMT-08;00)
               To: Todd Maron                         . Sarah O'Brien
               Cc: EMDesk
               Subject: Re: Termination/Lawsuit


               Meant to say "no injuries"

               On Jun 20, 2018, at 5:16 PM,Elon Musk                              wrote:



                         Begin forwarded message:



                                From:Elon Musk
                                Date: June 20, 2018 at 10:28:06 AM PDT
                                To: Marty Tripp
                                Subject: Re: Termination/Lawsuit



                                There are literally injuries with Model 3. It is by far the safest car in the world for any midsize vehicle. And ofcourse a company with billions ofdollars in produQ is going to have
                                millions of dollars in scrap. This is not news.

                                However, betraying your word ofhonor, breaking the deal you had when Tesia gave you a job and framing your colleagues are wrong and some come with legal penalties. So it goes. Be
                                well.




                                        On Jun 20, 2018, at 10:03 AM, Marty Tripp                              > wrote:




CONFIDENTIAL                                                                                                                                                                                                                     TES-TRIPP 0010445
                              Case 3:18-cv-00296-MMD-CLB Document 113-12 Filed 11/20/19 Page 3 of 4




               T NEVER 'framed' anyone else or even insinuated anyone else as being involved in my production of documents of your MILLIONS OF DOLLARS OF WASTE,Safety
               concerns, lying to investors/the WORLD.




               Putting cars on the road with safety issues is being a hoirible human being!




                      On Jun 20, 2018, at 10:00 AM, Elon Musk                        wrote:




                      You should ashamed of yourselffor framing other people. You're a horrible human being.




                              On Jun 20, 2018, at 9:59 AM, Marty Tripp                           > wrote:




                              I never made a threat. I simply told you that you have what's coming.




                              Thank you for thisgifl!!!!




                                     On Jun 20, 2018, at 9:42 AM,Elon Musk                       wrote:




                                     Threatening me only makes it worse for you




CONFIDENTIAL                                                                                                                                                             TES-TRIPP 0010446
                                                 Case 3:18-cv-00296-MMD-CLB Document 113-12 Filed 11/20/19 Page 4 of 4



                                                               On Jun 20, 2018, at 8:57 AM,Marty Tripp                                wrote;




                                                               Don't worry, you have what's coming to you for the lies you have told to the public and investors.



     On Jun 20,2018, at 4:38 PM,Julia Wong                                     wrote:

           Hi Elon,

           The Guardian is planning to publish an article shortly about Tesla's lawsuit against Martin Tripp. Tripp has acknowledged to the Guardian that he was a source for a Business Insider reporter, but denies any
           implication that he was a saboteur, or that he hacked Tesla's MOS. Instead, Tripp claims that he went to the media after making numerous attempts to raise concerns about excess NCM,scrap, and other issues like
           punctured batteries, and being ignored.

           Do you or Tesia want to comment on Tripp's claim that he was acting as a whistleblower?

           And do you want to add any comment to the emails you sent to Tripp's personal account today, calling him a "horrible human being", among other things. Why did you decide to email Tripp after you had already fired
           and sued him?

           Feel free to give me a call at              if you'd like to discuss anything by phone.

           Thanks,

           Julia




           Julia Carrie Wong
           Reporter
           Guanlion Nctvs & Media

           Phonc/Slfinal/WhatsApp:
           Email:
           twitter (gliulia^a^rie^v




           Gu^^ian
           nil Broodway
           Oakland,CA 94607
           thegunrdinn.com


           Download the Guardian app for Android and iOS




           lliis e-mail and all attachments are confidantial and may also be privileged. If you are not the named redplent, please notify ftne sender and delete the e-mail and all attachments immediately. Do
           not disclose the contents to another person. You may not use the information for any purpose, or store, or copy, It in any way. Guardian News & Media Limited is not liable for any computer viruses
           or other material transmitted with or as part of this e-mail. You should employ virus checking software.
           Guardian News & Media Umited Is a member of Guardian Media Group pia Registered Office; PC Box 68164, Kings Place. 90 York Way, London, NIP 2AP. Registered in England Number 008396




CONFIDENTIAL                                                                                                                                                                                                                TES-TRIPP 0010447
